                 Case 1:19-cr-00541-DKC Document 17-13 Filed 02/13/20 Page 1 of 27



    GB Consulting                                                                               INVOICE
    2118 Clifton Ave
    Baltimore, Maryland 21217

    BILLED TO:
    Healthy Holly, LLC                                                      INVOICE NUMBER HH-2015-01
    3603 Dennly Road                                                           INVOICE DATE January 5, 2015
    Baltimore, Maryland 21215

                                                                                     TERMS Net 30
    SHIPPED TO:
    Gary Brown, Jr.

                                                                       PREPAID or COLLECT COLL

    Sales Tax Rate:                 0.00%

      QUANTITY                               DESCRIPTION                         UNIT PRICE          AMOUNT


          1       Promotion, Sales, and Marketing Outreach of                        3,000.00                 3,000.00

                  Healthy Holly Books & Clothing Brand




C




                                                                              SUBTOTAL                         3,000.00
    DIRECT ALL INQUIRIES TO:                  MAKE ALL CHECKS PAYABLE TO:     TAX                                  0.00
    Gary Brown, Jr.                           Gary Brown, Jr.                 FREIGHT                              0.00
                                                                                                              $3,000.00
    email:                                                                                           PAY THIS
                                                                                                     AMOUNT


                                   THANK YOU FOR YOUR BUSINESS!




                                                         EXHIBIT 13
                 Case 1:19-cr-00541-DKC Document 17-13 Filed 02/13/20 Page 2 of 27




c   GB Consulting
    2118 Clifton Ave
    Baltimore, Maryland 21217
                                                                                                INVOICE

    BILLED TO:
    Healthy Holly, LLC                                                      INVOICE NUMBER HH-2015-02
    3603 Dennly Road                                                           INVOICE DATE February 5, 2015
    Baltimore, Maryland 21215

                                                                                     TERMS Net 30
    SHIPPED TO:
    Gary Brown, Jr.

                                                                       PREPAID or COLLECT COLL

    Sales Tax Rate:                 0.00%

      QUANTITY                               DESCRIPTION                         UNIT PRICE           AMOUNT


          1       Promotion, Sales, and Marketing Outreach of                        3,000.00                  3,000.00
                  Healthy Holly Books & Clothing Brand




C




                                                                              SUBTOTAL                      3,000.00
    DIRECT ALL INQUIRIES TO:                  MAKE ALL CHECKS PAYABLE TO:     TAX                               0.00
    Gary Brown, Jr.                           Gary Brown, Jr.                 FREIGHT                           0.00
                                                                                                           53,000.00
    email:                                                                                           PAY THIS
                                                                                                     AMOUNT


                                   THANK YOU FOR YOUR BUSINESS!
                 Case 1:19-cr-00541-DKC Document 17-13 Filed 02/13/20 Page 3 of 27




r   GB Consulting
    2118 Clifton Ave
    Baltimore, Maryland 21217
                                                                                                INVOICE

    BILLED TO:
    Healthy Holly, LLC                                                      INVOICE NUMBER HH-2015-03
    3603 Dennly Road                                                           INVOICE DATE March 5, 2015
    Baltimore, Maryland 21215

                                                                                     TERMS Net 30
    SHIPPED TO:
    Gary Brown, Jr.

                                                                       PREPAID or COLLECT COLL

    Sales Tax Rate:                 0.00%

      QUANTITY                               DESCRIPTION                         UNIT PRICE          AMOUNT


          1       Promotion, Sales, and Marketing Outreach of                        3,000.00                 3,000.00

                  Healthy Holly Books & Clothing Brand




C
                                                                              SUBTOTAL                       3,000.00
    DIRECT ALL INQUIRIES TO:                  MAKE ALL CHECKS PAYABLE TO:     TAX                                0.00
    Gary Brown, Jr.                           Gary Brown, Jr.                 FREIGHT                            0.00
                                                                                                            $3,000.00
    email:                                                                                           PAY THIS
                                                                                                     AMOUNT


                                   THANK YOU FOR YOUR BUSINESS!




r
                 Case 1:19-cr-00541-DKC Document 17-13 Filed 02/13/20 Page 4 of 27



    GB Consulting                                                                                INVOICE
    2118 Clifton Ave
    Baltimore, Maryland 21217

    BILLED TO:
    Healthy Holly, LLC                                                       INVOICE NUMBER HH-2015-04
    3603 Dennly Road                                                            INVOICE DATE April 5, 2015
    Baltimore, Maryland 21215

                                                                                      TERMS Net 30
    SHIPPED TO:
    Gary Brown, Jr.

                                                                        PREPAID or COLLECT COLL

    Sales Tax Rate:                  0.00%

      QUANTITY                               DESCRIPTION                          UNIT PRICE           AMOUNT


         1        Promotion, Sales, and Marketing Outreach of                         3,000.00                  3,000.00
                   Healthy Holly Books & Clothing Brand




C




                                                                               SUBTOTAL                       3,000.00
    DIRECT ALL INQUIRIES TO:                   MAKE ALL CHECKS PAYABLE TO:     TAX                                0.00
    Gary Brown, Jr.                            Gary Brown, Jr.                 FREIGHT                            0.00
               9                                                                                             0,000.00
    email:                                                                                             PAY THIS
                                                                                                       AMOUNT


                                   THANK YOU FOR YOUR BUSINESS!
                 Case 1:19-cr-00541-DKC Document 17-13 Filed 02/13/20 Page 5 of 27




r   GB Consulting
    2118 Clifton Ave
    Baltimore, Maryland 21217
                                                                                                INVOICE

    BILLED TO:
    Healthy Holly, LLC                                                      INVOICE NUMBER HH-2015-05
    3603 Dennly Road                                                           INVOICE DATE May 5, 2015
    Baltimore, Maryland 21215

                                                                                     TERMS Net 30
    SHIPPED TO:
    Gary Brown, Jr.

                                                                       PREPAID or COLLECT COLL

    Sales Tax Rate:                 0.00%

      QUANTITY                               DESCRIPTION                         UNIT PRICE          AMOUNT


          1       Promotion, Sales, and Marketing Outreach of                        3,000.00                 3,000.00
                  Healthy Holly Books & Clothing Brand




r
                                                                              SUBTOTAL                      3,000.00
    DIRECT ALL INQUIRIES TO:                  MAKE ALL CHECKS PAYABLE TO:     TAX                               0.00
    Gary Brown, Jr.                           Gary Brown, Jr.                 FREIGHT                           0.00
                                                                                                           $3,000.00
    email:                                                                                           PAY THIS
                                                                                                     AMOUNT


                                   THANK YOU FOR YOUR BUSINESS!




r
                 Case 1:19-cr-00541-DKC Document 17-13 Filed 02/13/20 Page 6 of 27




r   GB Consulting
    2118 Clifton Ave
    Baltimore, Maryland 21217
                                                                                                 INVOICE

    BILLED TO:
    Healthy Holly, LLC                                                       INVOICE NUMBER HH-2015-06
    3603 Dennly Road                                                            INVOICE DATE June 5, 2015
    Baltimore, Maryland 21215

                                                                                      TERMS Net 30
    SHIPPED TO:
    Gary Brown, Jr.

                                                                         PREPAID or COLLECT COLL

    Sales Tax Rate:                  0.00%

      QUANTITY                                DESCRIPTION                         UNIT PRICE          AMOUNT


          1        Promotion, Sales, and Marketing Outreach of                        3,000.00                 3,000.00
                   Healthy Holly Books & Clothing Brand




r




                                                                               SUBTOTAL                      3,000.00
    DIRECT ALL INQUIRIES TO:                   MAKE ALL CHECKS PAYABLE TO:     TAX                               0.00
    Gary Brown, Jr.                            Gary Brown, Jr.                 FREIGHT                           0.00
                                                                                                            $3,000.00
    email: g                                                                                          PAY THIS
                                                                                                      AMOUNT


                                   THANK YOU FOR YOUR BUSINESS!
                 Case 1:19-cr-00541-DKC Document 17-13 Filed 02/13/20 Page 7 of 27




e   GB Consulting
    2118 Clifton Ave
    Baltimore, Maryland 21217
                                                                                                 INVOICE

    BILLED TO:
    Healthy Holly, LLC                                                       INVOICE NUMBER HH-2015-07
    3603 Dennly Road                                                            INVOICE DATE July 5, 2015
    Baltimore, Maryland 21215

                                                                                      TERMS Net 30
    SHIPPED TO:
    Gary Brown, Jr.

                                                                         PREPAID or COLLECT COLL

    Sales Tax Rate:                  0.00%

      QUANTITY                                DESCRIPTION                         UNIT PRICE           AMOUNT


          1        Promotion, Sales, and Marketing Outreach of                        3,000.00                  3,000.00
                   Healthy Holly Books & Clothing Brand




r




                                                                               SUBTOTAL                      3,000.00
    DIRECT ALL INQUIRIES TO:                   MAKE ALL CHECKS PAYABLE TO:     TAX                               0.00
    Gary Brown, Jr.                            Gary Brown, Jr.                 FREIGHT                           0.00
                                                                                                            $3,000.00
    email:                                                                                            PAY THIS
                                                                                                      AMOUNT


                                   THANK YOU FOR YOUR BUSINESS!
                 Case 1:19-cr-00541-DKC Document 17-13 Filed 02/13/20 Page 8 of 27




r   GB Consulting
    2118 Clifton Ave
    Baltimore, Maryland 21217
                                                                                                INVOICE

    BILLED TO:
    Healthy Holly, LLC                                                      INVOICE NUMBER HH-2015-08
    3603 Dennly Road                                                           INVOICE DATE August 5, 2015
    Baltimore, Maryland 21215

                                                                                     TERMS Net 30
    SHIPPED TO:
    Gary Brown, Jr.

                                                                        PREPAID or COLLECT COLL

    Sales Tax Rate:                 0.00%

      QUANTITY                               DESCRIPTION                         UNIT PRICE          AMOUNT


          1       Promotion, Sales, and Marketing Outreach of                        3,000.00                 3,000.00
                  Healthy Holly Books & Clothing Brand




r




                                                                              SUBTOTAL                        3,000.00
    DIRECT ALL INQUIRIES TO:                  MAKE ALL CHECKS PAYABLE TO:     TAX                                 0.00
    Gary Brown, Jr.                           Gary Brown, Jr.                 FREIGHT                             0.00
                                                                                                             S3,000.00
    email:                                                                                           PAY THIS
                                                                                                     AMOUNT


                                  THANK YOU FOR YOUR BUSINESS!
                 Case 1:19-cr-00541-DKC Document 17-13 Filed 02/13/20 Page 9 of 27



    GB Consulting                                                                               INVOICE
    2118 Clifton Ave
    Baltimore, Maryland 21217

    BILLED TO:
    Healthy Holly, LLC                                                      INVOICE NUMBER HH-2015-09
    3603 Dennly Road                                                           INVOICE DATE September 5, 2015
    Baltimore, Maryland 21215

                                                                                     TERMS Net 30
    SHIPPED TO:
    Gary Brown, Jr.

                                                                       PREPAID or COLLECT COLL

    Sales Tax Rate:                 0.00%

      QUANTITY                               DESCRIPTION                         UNIT PRICE          AMOUNT


          1       Promotion, Sales, and Marketing Outreach of                        3,000.00                 3,000.00
                  Healthy Holly Books & Clothing Brand




r




                                                                              SUBTOTAL                      3,000.00
    DIRECT ALL INQUIRIES TO:                  MAKE ALL CHECKS PAYABLE TO:     TAX                               0.00
    Gary Brown, Jr.                           Gary Brown, Jr.                 FREIGHT                           0.00
    4                                                                                                      $3,000.00
    email: g                                                                                         PAY THIS
                                                                                                     AMOUNT


                                   THANK YOU FOR YOUR BUSINESS!
                 Case 1:19-cr-00541-DKC Document 17-13 Filed 02/13/20 Page 10 of 27




r
,
    GB Consulting
    2118 Clifton Ave
    Baltimore, Maryland 21217                     -   -
                                                                                                 INVOICE

    BILLED TO:     •
    Healthy Holly, LLC                                                       INVOICE NUMBER HH-2015-10
    3603 Dennly Road                                                            INVOICE DATE October 5, 2015
    Baltimore, Maryland 21215

                                                                                      TERMS Net 30
    SHIPPED TO:
    Gary Brown, Jr.

                                                                        PREPAID or COLLECT COLL

    Sales Tax Rate:                  0.00%

      QUANTITY                                DESCRIPTION                         UNIT PRICE          AMOUNT


          1        Promotion, Sales, and Marketing Outreach of                        3,000.00                  3,000.00
                   Healthy Holly Books & Clothing Brand




C




                                                                               SUBTOTAL                         3,000.00
    DIRECT ALL INQUIRIES TO:                   MAKE ALL CHECKS PAYABLE TO:     TAX                                  0.00
    Gary Brown, Jr.                            Gary Brown, Jr.                 FREIGHT                              0.00
               9                                                                                               $3,000.00
    email:                                                                                            PAY THIS
                                                                                                      AMOUNT


                                   THANK YOU FOR YOUR BUSINESS!
                 Case 1:19-cr-00541-DKC Document 17-13 Filed 02/13/20 Page 11 of 27




r   GB Consulting
    2118 Clifton Ave
    Baltimore, Maryland 21217
                                                                                                 INVOICE

    BILLED TO:
    Healthy Holly, LLC                                                       INVOICE NUMBER HH-2015-11
    3603 Dennly Road                                                            INVOICE DATE November 5, 2015
    Baltimore, Maryland 21215

                                                                                      TERMS Net 30
    SHIPPED TO:
    Gary Brown, Jr.

                                                                        PREPAID or COLLECT COLL

    Sales Tax Rate:                  0.00%

      QUANTITY                                DESCRIPTION                         UNIT PRICE          AMOUNT


          1        Promotion, Sales, and Marketing Outreach of                        3,000.00                 3,000.00
                   Healthy Holly Books & Clothing Brand




r




                                                                               SUBTOTAL                      3,000.00
    DIRECT ALL INQUIRIES TO:                   MAKE ALL CHECKS PAYABLE TO:     TAX                               0.00
    Gary Brown, Jr.                            Gary Brown, Jr.                 FREIGHT                           0.00
                                                                                                            $3,000.00
    email:                                                                                            PAY THIS
                                                                                                      AMOUNT


                                    THANK YOU FOR YOUR BUSINESS!
                 Case 1:19-cr-00541-DKC Document 17-13 Filed 02/13/20 Page 12 of 27



    GB Consulting                                                                                INVOICE
    2118 Clifton Ave
    Baltimore, Maryland 21217

    BILLED TO:
    Healthy Holly, LLC                                                       INVOICE NUMBER HH-2015-12
    3603 Dennly Road                                                            INVOICE DATE December 5, 2015
    Baltimore, Maryland 21215

                                                                                      TERMS Net 30
    SHIPPED TO:
    Gary Brown, Jr.

                                                                        PREPAID or COLLECT COLL

    Sales Tax Rate:                  0.00%

      QUANTITY                                DESCRIPTION                         UNIT PRICE          AMOUNT


          1        Promotion, Sales, and Marketing Outreach of                        3,000.00                 3,000.00

                   Healthy Holly Books & Clothing Brand




r




                                                                               SUBTOTAL                      3,000.00
    DIRECT ALL INQUIRIES TO:                   MAKE ALL CHECKS PAYABLE TO:     TAX                               0.00
    Gary Brown, Jr.                            Gary Brown, Jr.                 FREIGHT                           0.00
                                                                                                            $3,000.00
    email:                                                                                            PAY THIS
                                                                                                      AMOUNT


                                    THANK YOU FOR YOUR BUSINESS!
                 Case 1:19-cr-00541-DKC Document 17-13 Filed 02/13/20 Page 13 of 27




r   GB Consulting
    2118 Clifton Ave
    Baltimore, Maryland 21217
                                                                                                 INVOICE

    BILLED TO:
    Healthy Holly, LLC                                                       INVOICE NUMBER HH-2016-01
    3603 Dennly Road                                                            INVOICE DATE January 5, 2016
    Baltimore, Maryland 21215

                                                                                      TERMS Net 30
    SHIPPED TO:
    Gary Brown, Jr.

                                                                        PREPAID or COLLECT COLL

    Sales Tax Rate:                  0.00%

      QUANTITY                                DESCRIPTION                         UNIT PRICE          AMOUNT


          1        Promotion, Sales, and Marketing Outreach of                        3,000.00                 3,000.00
                   Healthy Holly Books & Clothing Brand




C




                                                                               SUBTOTAL                         3,000.00
    DIRECT ALL INQUIRIES TO:                   MAKE ALL CHECKS PAYABLE TO:     TAX                                  0.00
    Gary Brown, Jr.                            Gary Brown, Jr.                 FREIGHT                              0.00
                                                                                                               $3,000.00
    email:                                                                                            PAY THIS
                                                                                                      AMOUNT


                                    THANK YOU FOR YOUR BUSINESS!
                 Case 1:19-cr-00541-DKC Document 17-13 Filed 02/13/20 Page 14 of 27




r
,
    GB Consulting
    2118 Clifton Ave
    Baltimore, Maryland 21217
                                                                                                 INVOICE

    BILLED TO:
    Healthy Holly, LLC                                                       INVOICE NUMBER HH-2016-02
    3603 Dennly Road                                                            INVOICE DATE February 5, 2016
    Baltimore, Maryland 21215

                                                                                      TERMS Net 30
    SHIPPED TO:
    Gary Brown, Jr.

                                                                        PREPAID or COLLECT COLL

    Sales Tax Rate:                  0.00%

      QUANTITY                                DESCRIPTION                         UNIT PRICE           AMOUNT


          1        Promotion, Sales, and Marketing Outreach of                        3,000.00                  3,000.00
                   Healthy Holly Books & Clothing Brand




C




                                                                               SUBTOTAL                       3,000.00
    DIRECT ALL INQUIRIES TO:                   MAKE ALL CHECKS PAYABLE TO:     TAX                                0.00
    Gary Brown, Jr.                            Gary Brown, Jr.                 FREIGHT                            0.00
                                                                                                             $3,000.00
    email:                                                                                             PAY THIS
                                                                                                       AMOUNT


                                    THANK YOU FOR YOUR BUSINESS!
                 Case 1:19-cr-00541-DKC Document 17-13 Filed 02/13/20 Page 15 of 27



    GB Consulting                                                                                INVOICE
    2118 Clifton Ave
    Baltimore, Maryland 21217

    BILLED TO:
    Healthy Holly, LLC                                                       INVOICE NUMBER HH-2016-03
    3603 Dennly Road                                                            INVOICE DATE March 5, 2016
    Baltimore, Maryland 21215

                                                                                      TERMS Net 30
    SHIPPED TO:
    Gary Brown, Jr.

                                                                        PREPAID or COLLECT COLL

    Sales Tax Rate:                  0.00%

      QUANTITY                                DESCRIPTION                         UNIT PRICE          AMOUNT


          1        Promotion, Sales, and Marketing Outreach of                        3,000.00                 3,000.00
                   Healthy Holly Books & Clothing Brand




r




                                                                               SUBTOTAL                       3,000.00
    DIRECT ALL INQUIRIES TO:                   MAKE ALL CHECKS PAYABLE TO:     TAX                                0.00
    Gary Brown, Jr.                            Gary Brown, Jr.                 FREIGHT                            0.00
                                                                                                             $3,000.00
    email: g                                                                                          PAY THIS
                                                                                                      AMOUNT


                                    THANK YOU FOR YOUR BUSINESS!
                 Case 1:19-cr-00541-DKC Document 17-13 Filed 02/13/20 Page 16 of 27



    GB Consulting                                                                                INVOICE
    2118 Clifton Ave
    Baltimore, Maryland 21217

    BILLED TO:
    Healthy Holly, LLC                                                       INVOICE NUMBER HH-2016-04
    3603 Dennly Road                                                            INVOICE DATE April 5, 2016
    Baltimore, Maryland 21215

                                                                                      TERMS Net 30
    SHIPPED TO:
    Gary Brown, Jr.

                                                                        PREPAID or COLLECT COLL

    Sales Tax Rate:                  0.00%

      QUANTITY                                DESCRIPTION                         UNIT PRICE           AMOUNT


          1        Promotion, Sales, and Marketing Outreach of                        3,000.00                  3,000.00
                   Healthy Holly Books & Clothing Brand




r




                                                                               SUBTOTAL                       3,000.00
    DIRECT ALL INQUIRIES TO:                   MAKE ALL CHECKS PAYABLE TO:     TAX                                0.00
    Gary Brown, Jr.                            Gary Brown, Jr.                 FREIGHT                            0.00
                                                                                                             $3,000.00
    email: g                                                                                           PAY THIS
                                                                                                       AMOUNT


                                    THANK YOU FOR YOUR BUSINESS!
                 Case 1:19-cr-00541-DKC Document 17-13 Filed 02/13/20 Page 17 of 27



    GB Consulting                                                                                INVOICE
    2118 Clifton Ave
    Baltimore, Maryland 21217

    BILLED TO:
    Healthy Holly, LLC                                                       INVOICE NUMBER HH-2016-05
    3603 Dennly Road                                                            INVOICE DATE May 5, 2016
    Baltimore, Maryland 21215

                                                                                      TERMS Net 30
    SHIPPED TO:
    Gary Brown, Jr.

                                                                        PREPAID or COLLECT COLL

    Sales Tax Rate:                  0.00%

      QUANTITY                                DESCRIPTION                         UNIT PRICE          AMOUNT


          1        Promotion, Sales, and Marketing Outreach of                        3,000.00                 3,000.00
                   Healthy Holly Books & Clothing Brand




e




                                                                               SUBTOTAL                      3,000.00
    DIRECT ALL INQUIRIES TO:                   MAKE ALL CHECKS PAYABLE TO:     TAX                               0.00
    Gary Brown, Jr.                            Gary Brown, Jr.                 FREIGHT                           0.00
                                                                                                            $3,000.00
    email:                                                                                            PAY THIS
                                                                                                      AMOUNT


                                    THANK YOU FOR YOUR BUSINESS!
                 Case 1:19-cr-00541-DKC Document 17-13 Filed 02/13/20 Page 18 of 27



    GB Consulting                                                                                INVOICE
    2118 Clifton Ave
    Baltimore, Maryland 21217

    BILLED TO:
    Healthy Holly, LLC                                                       INVOICE NUMBER HH-2016-06
    3603 Dennly Road                                                            INVOICE DATE June 5, 2016
    Baltimore, Maryland 21215

                                                                                      TERMS Net 30
    SHIPPED TO:
    Gary Brown, Jr.

                                                                        PREPAID or COLLECT COLL

    Sales Tax Rate:                  0.00%

      QUANTITY                                DESCRIPTION                         UNIT PRICE          AMOUNT


          1        Promotion, Sales, and Marketing Outreach of                        3,000.00                 3,000.00

                   Healthy Holly Books & Clothing Brand




r




                                                                               SUBTOTAL                      3,000.00
    DIRECT ALL INQUIRIES TO:                   MAKE ALL CHECKS PAYABLE TO:     TAX                               0.00
    Gary Brown, Jr.                            Gary Brown, Jr.                 FREIGHT                           0.00
                                                                                                            $3,000.00
    email:                                                                                            PAY THIS
                                                                                                      AMOUNT


                                    THANK YOU FOR YOUR BUSINESS!
                 Case 1:19-cr-00541-DKC Document 17-13 Filed 02/13/20 Page 19 of 27




r   GB Consulting
    2118 Clifton Ave
    Baltimore, Maryland 21217
                                                                                                 INVOICE

    BILLED TO:
    Healthy Holly, LLC                                                       INVOICE NUMBER HH-2016-07
    3603 Dennly Road                                                            INVOICE DATE July 5, 2016
    Baltimore, Maryland 21215

                                                                                      TERMS Net 30
    SHIPPED TO:
    Gary Brown, Jr.

                                                                        PREPAID or COLLECT COLL

    Sales Tax Rate:                  0.00%

      QUANTITY                                DESCRIPTION                         UNIT PRICE           AMOUNT


          1        Promotion, Sales, and Marketing Outreach of                        3,000.00                  3,000.00
                   Healthy Holly Books & Clothing Brand




r




                                                                               SUBTOTAL                         3,000.00
    DIRECT ALL INQUIRIES TO:                   MAKE ALL CHECKS PAYABLE TO:     TAX                               0.00
    Gary Brown, Jr.                            Gary Brown, Jr.                 FREIGHT                           0.00
    4                                                                                                       $3,000.00
    email:                                                                                            PAY THIS
                                                                                                      AMOUNT


                                    THANK YOU FOR YOUR BUSINESS!
                   Case 1:19-cr-00541-DKC Document 17-13 Filed 02/13/20 Page 20 of 27



      GB Consulting                                                                                INVOICE
      2118 Clifton Ave
      Baltimore, Maryland 21217

      BILLED TO:
      Healthy Holly, LLC                                                       INVOICE NUMBER HH-2016-08
      3603 Dennly Road                                                            INVOICE DATE August 5, 2016
      Baltimore, Maryland 21215

                                                                                        TERMS Net 30
      SHIPPED TO:
      Gary Brown, Jr.

                                                                          PREPAID or COLLECT COLL

      Sales Tax Rate:                  0.00%

        QUANTITY                                DESCRIPTION                         UNIT PRICE          AMOUNT


            1        Promotion, Sales, and Marketing Outreach of                        3,000.00                 3,000.00
                     Healthy Holly Books & Clothing Brand




(48




                                                                                 SUBTOTAL                        3,000.00
      DIRECT ALL INQUIRIES TO:                   MAKE ALL CHECKS PAYABLE TO:     TAX                                 0.00
      Gary Brown, Jr.                            Gary Brown, Jr.                 FREIGHT                             0.00
                                                                                                                $3,000.00
      email:                                                                                            PAY THIS
                                                                                                        AMOUNT


                                     THANK YOU FOR YOUR BUSINESS!
                 Case 1:19-cr-00541-DKC Document 17-13 Filed 02/13/20 Page 21 of 27



    GB Consulting                                                                                INVOICE
    2118 Clifton Ave
    Baltimore, Maryland 21217

    BILLED TO:
    Healthy Holly, LLC                                                       INVOICE NUMBER HH-2016-09
    3603 Dennly Road                                                            INVOICE DATE September 5, 2016
    Baltimore, Maryland 21215

                                                                                      TERMS Net 30
    SHIPPED TO:
    Gary Brown, Jr.

                                                                         PREPAID or COLLECT COLL

    Sales Tax Rate:                  0.00%

      QUANTITY                                DESCRIPTION                         UNIT PRICE          AMOUNT

         1         Promotion, Sales, and Marketing Outreach of                        3,000.00                 3,000.00
                   Healthy Holly Books & Clothing Brand




r




                                                                               SUBTOTAL                      3,000.00
    DIRECT ALL INQUIRIES TO:                   MAKE ALL CHECKS PAYABLE TO:     TAX                               0.00
    Gary Brown, Jr.                            Gary Brown, Jr.                 FREIGHT                           0.00
                                                                                                            $3,000.00
    email:                                                                                            PAY THIS
                                                                                                      AMOUNT


                                   THANK YOU FOR YOUR BUSINESS!
                 Case 1:19-cr-00541-DKC Document 17-13 Filed 02/13/20 Page 22 of 27




r   GB Consulting
    2118 Clifton Ave
    Baltimore, Maryland 21217
                                                                                                 INVOICE

    BILLED TO:
    Healthy Holly, LLC                                                       INVOICE NUMBER HH-2016-10
    3603 Dennly Road                                                            INVOICE DATE October 5, 2016
    Baltimore, Maryland 21215

                                                                                      TERMS Net 30
    SHIPPED TO:
    Gary Brown, Jr.

                                                                        PREPAID or COLLECT COLL

    Sales Tax Rate:                  0.00%

      QUANTITY                                DESCRIPTION                         UNIT PRICE          AMOUNT


         1         Promotion, Sales, and Marketing Outreach of                        3,000.00                  3,000.00
                   Healthy Holly Books & Clothing Brand




C




                                                                               SUBTOTAL                         3,000.00
    DIRECT ALL INQUIRIES TO:                   MAKE ALL CHECKS PAYABLE TO:     TAX                                  0.00
    Gary Brown, Jr.                            Gary Brown, Jr.                 FREIGHT                              0.00
                                                                                                               $3,000.00
    email:                                                                                            PAY THIS
                                                                                                      AMOUNT


                                    THANK YOU FOR YOUR BUSINESS!




C
                 Case 1:19-cr-00541-DKC Document 17-13 Filed 02/13/20 Page 23 of 27




r   GB Consulting
    2118 Clifton Ave
    Baltimore, Maryland 21217
                                                                                                 INVOICE

    BILLED TO:
    Healthy Holly, LLC                                                       INVOICE NUMBER HH-2016-11
    3603 Dennly Road                                                            INVOICE DATE November 5, 2016
    Baltimore, Maryland 21215

                                                                                      TERMS Net 30
    SHIPPED TO:
    Gary Brown, Jr.

                                                                        PREPAID or COLLECT COLL

    Sales Tax Rate:                  0.00%

      QUANTITY                                DESCRIPTION                         UNIT PRICE          AMOUNT


          1        Promotion, Sales, and Marketing Outreach of                        3,000.00                 3,000.00

                   Healthy Holly Books & Clothing Brand




C




                                                                               SUBTOTAL                      3,000.00
    DIRECT ALL INQUIRIES TO:                   MAKE ALL CHECKS PAYABLE TO:     TAX                               0.00
    Gary Brown, Jr.                            Gary Brown, Jr.                 FREIGHT                           0.00
               9                                                                                            $3,000.00
    email:                                                                                            PAY THIS
                                                                                                      AMOUNT


                                    THANK YOU FOR YOUR BUSINESS!
A -

                   Case 1:19-cr-00541-DKC Document 17-13 Filed 02/13/20 Page 24 of 27



      GB Consulting                                                                                INVOICE
      2118 Clifton Ave
      Baltimore, Maryland 21217

      BILLED TO:
      Healthy Holly, LLC                                                       INVOICE NUMBER HH-2016-11
      3603 Dennly Road                                                            INVOICE DATE December 5, 2016
      Baltimore, Maryland 21215

                                                                                        TERMS Net 30
      SHIPPED TO:
      Gary Brown, Jr.

                                                                          PREPAID or COLLECT COLL

      Sales Tax Rate:                  0.00%

        QUANTITY                                DESCRIPTION                         UNIT PRICE          AMOUNT


            1        Promotion, Sales, and Marketing Outreach of                        3,000.00                 3,000.00

                     Healthy Holly Books & Clothing Brand




C




                                                                                 SUBTOTAL                      3,000.00
      DIRECT ALL INQUIRIES TO:                   MAKE ALL CHECKS PAYABLE TO:     TAX                               0.00
      Gary Brown, Jr.                            Gary Brown, Jr.                 FREIGHT                           0.00
                  9                                                                                           $3,000.00
      email: g                                                                                          PAY THIS
                                                                                                        AMOUNT


                                      THANK YOU FOR YOUR BUSINESS!
                 Case 1:19-cr-00541-DKC Document 17-13 Filed 02/13/20 Page 25 of 27



    GB Consulting                                                                                INVOICE
    1123 N Eutaw Street, Apt 408
    Baltimore, Maryland 21201

    BILLED TO:
    Healthy Holly, LLC                                                       INVOICE NUMBER HH-2017-10
    3603 Dennly Road                                                            INVOICE DATE October 15, 2017
    Baltimore, Maryland 21215

                                                                                      TERMS Net 30
    SHIPPED TO:
    Gary Brown, Jr.

                                                                        PREPAID or COLLECT COLL

    Sales Tax Rate:                  0.00%

      QUANTITY                                DESCRIPTION                         UNIT PRICE          AMOUNT


          1        Promotion, Sales, and Marketing Outreach of                        3,250.00                  3,250.00

                   Healthy Holly Books & Clothing Brand




C




                                                                               SUBTOTAL                      3,250.00
    DIRECT ALL INQUIRIES TO:                   MAKE ALL CHECKS PAYABLE TO:     TAX                               0.00
    Gary Brown, Jr.                            Gary Brown, Jr.                 FREIGHT                           0.00
                                                                                                            $3,250.00
    email:                                                                                            PAY THIS
                                                                                                      AMOUNT


                                    THANK YOU FOR YOUR BUSINESS!
                 Case 1:19-cr-00541-DKC Document 17-13 Filed 02/13/20 Page 26 of 27




r   GB Consulting
    1123 N Eutaw Street, Apt 408
    Baltimore, Maryland 21201
                                                                                                   INVOICE

    BILLED TO:
    Healthy Holly, LLC                                                         INVOICE NUMBER HH-2018-05
    3603 Denny Road                                                               INVOICE DATE May 15, 2018
    Baltimore, Maryland 21215

                                                                                        TERMS Net 30
    SHIPPED TO:
    Gary Brown, Jr.

                                                                          PREPAID or COLLECT COLL

    Sales Tax Rate:                  0.00%

      QUANTITY                                  DESCRIPTION                         UNIT PRICE          AMOUNT


          1        Reimbursement for printing                                              75.00                   75.00




C

                                                                                 SUBTOTAL                           75.00
    DIRECT ALL INQUIRIES TO:                     MAKE ALL CHECKS PAYABLE TO:     TAX                                 0.00
    Gary Brown, Jr.                              Gary Brown, Jr.                 FREIGHT                             0.00
                                                                                                                   $75.00
    email:                                                                                              PAY THIS
                                                                                                        AMOUNT


                                   THANK YOU FOR YOUR BUSINESS!
                 Case 1:19-cr-00541-DKC Document 17-13 Filed 02/13/20 Page 27 of 27




r   GB Consulting
    1123 N Eutaw Street, Apt 408
    Baltimore, Maryland 21201
                                                                                                 INVOICE

    BILLED TO:
    Healthy Holly, LLC                                                       INVOICE NUMBER HH-2018-11
    3603 Dennly Road                                                            INVOICE DATE November 15, 2018
    Baltimore, Maryland 21215

                                                                                      TERMS Net 30
    SHIPPED TO:
    Gary Brown, Jr.

                                                                        PREPAID or COLLECT COLL

    Sales Tax Rate:                  0.00%

      QUANTITY                                DESCRIPTION                         UNIT PRICE          AMOUNT


          1        Promotion, Sales, and Marketing Outreach of                        3,250.00                 3,250.00

                   Healthy Holly Books & Clothing Brand




C




                                                                               SUBTOTAL                      3,250.00
    DIRECT ALL INQUIRIES TO:                   MAKE ALL CHECKS PAYABLE TO:     TAX                               0.00
    Gary Brown, Jr.                            Gary Brown, Jr.                 FREIGHT                           0.00
                9                                                                                           $3,250.00
    email: g                                                                                          PAY THIS
                                                                                                      AMOUNT


                                    THANK YOU FOR YOUR BUSINESS!
